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                                     1961




                Exhibit D
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         SUPREME, COURT OF THE STATE OF NE,Sr YORK
         COUNTY OF NEW YORI(: PART 59

                                                                                 DECISION I\ND ORDER
          THE PEOPLE, OF THE, STATE, OF NE,!r YOzu<                              ON Ptr,OPI,tr,'S MOTION
                                                                                   FOR A PROTECTIVE
                                                                                  ORDE,R RE,GULATING
                                                                                 DISCLOSURE OF JUROR
          DONALD J. TRUMP                                                            INFORMATION
                                                                   Defendant
                                                                                     Ind. No. 71543/2023



         JUAN M. ME,RCHAN, AJ.S.C.:


                                                     Becrcnorwo
                 Defendant is charged with 34 counts of Falsifying Business Records in the First Degree in
         violation of Penal Law $ 1,75.10. The charges arise from allegatrons that Defendant attempted to
         conceal an illegal scheme to influence the 2076 presidential election. Specifically, the People claim

         that Defendant dir.ected an attofney who workcd for his company to pav $130,000 to an adult film
         actress shordy before the election to prevent her from pubhcizing an alleged sexual encounter with

         Defendant. Defendant then reimbursed the attorney for the payments through a series of checks
         and caused business records associated with the repayments to be falsified to conceal his crimrnal

         conduct. Trial on this matter is scheduled to commence on March 25,2024.
                 The People fi.led the instant motion for a protective order on Februan, 22, 2024, seeking
         three forms of relief. I]irst, the People ask this Court to restrict disclosure o[ thc business or
         residentral addtess of anv prospective or sv/orn iutot other than to counsel of record f<-rr cithet party

         pursuant to the provisions of Crimrnal Procedure Law (hereinafter "CPL') 5270.15(1-a). Second,
         they ask this Court to invokc its inherent authority to prohibit disclosute of jutot names other than

         to parues and to cor.urscl. Third, the People ask this Court to explicidy provide notice to Defendant
         that any harassing or disruptive conduct that thteatens the safety or integrity of the iury may result
         in forfeiture of Defendant's access to juror names.
                 l)efendant Frled a response on March 4,2024, in whtch hc consents to thc People's lrst two
         requesrs, subject to certain modifications. Specifrcally, Defendant indicates that he "does believe

         that a protecd.ve order pursuant to CPL S 270.15(1-a) is apptopriate." Defendant's Response at pg.
         2. Regardrng the People's second request, Defendant "submits that the requested juror protective
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         order should be expanded to pcrmit disclosure to individuals cmployed by counsel of record, such
         as paralegals and any jury consultants." Defendant's Response at pg. 4. Defendant further asks this

         Court to take ptecautions to mrnimrze potential prejudice to Dcfendant such as by not notifying

         )urors of the existence of the protective measures unless the ;urors make an inquiry and by providing
         neuttal explanauons and insftuctions for the ptocedute. Defendant's Response at pg. 5, cittng People
         u. F-lores,153 AD3d 182lzd Dept. 20181; Unind Sutes u. Tutino,883 F2d 1125 Pd Ck. 19891. Finally,

         Defendant asks this Court to reject the People's request that it provide notice to Defendant that
         engaging in cettain conduct could tesult in the loss of his statutory right to access the names of

         prospective or sworn jurors.


                                                          DrscussroN
                  The firct tequest - CPL S 270.15(1-a) provides that a "court ma1,, for good cause shown,
         uponmotionofeitherpart)'...issueaprotectiveorder...regulaungdisclosureofthebusinessor
         residential address of any prospective or sworn juror to any person or persons, other than to counsel

         for either patq. Such good cause shall exist where the coutt determines that there is a hkelihood of
         bribery, jury tampering or of physical injury ot hatassment of the juror." Although the parties herein

         disagree as to the basis for such an order, they do agree that a protective order is appropriate. Having

         considered the atguments advanced by the People in their motion and by Defendant in his response,

         this Cout concurs thata protective order is necessary. The Court further frnds good cause, on the
         record before it, "that there is a likelihood of bdbery, jury tampering, or of physical iniury or
         harassment of juror(s)." CPL $ 270.15(1-a).

                  The second rcquest - Both panies agtee there is a need for a protective order prohibiung
         disclosure of juror names other than to the parties and counsel. Defcndant consents and asks this

         Court to expand disckrsure of juror names to the staff and consultants of the respective parues. This
         Court has examined the People's motion, together rvith the accompanying exhibits in support of the
         protective order and finds their arguments compelling.l Therefore, this Court agrees with the parties
         and finds that good cause exists for the issuance of a protecuve order prohibiung disclosute of iuror
         names other than to the parties and to counsel. Further, this C<lutt adopts Defendant's requests and

         expands the universe' o[ thosc permrtted access to the names to include the staff and consultants of



         1
          For example, the People deinonstrate that Defendant has an extensive history of publicly and repeatedly
         attacking trialjurors and grand jurors. People's Motion at pgs. 2-5; Exhibits 1-9. The motions, affirmations and
         exhibits of the respective parties are incorporated by reference.
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         the respective parties. As requested by Defendant, this Court will take reasonable precautions to
         mrnimize any potential ptejudice to either paty. The precautions may include, but not be limited to,
         not disclosing the exj.stence of the protectj.ve measures unless absolutely necessary to allay juror
         concerns, providing neutral explanations for the procedures and giving appropriate jury instrucuons.

         People u. b-lores 1,53 AD3d 182, 791,-1,92 l2dDept 20181.

                 To be clear, the parties have not requested, and this Court has not agreed, to close the
         Courtroom during juw selecuon or at zrry other time during the proceedrngs. Access to the
         courtroom by the public and the press will not be tempered in any way as a result of these protective
         measufes.

                  The third rcquest - This Court wtll rule on the People's third request whcn it addresses a
         separate motion by the People, also filed on February 22,2024, for an order restricting extrajudicial

         statements. For purposes of this Decision and Order, it is sufficient to remind Defendanr and all
         parties lo lhis aclion, irucluding coansel, of this Court's prior instructions fiom April 4, 2023; March 4.

         2023; and \[,ay 23, 2023.


                 At Defendant's arraignment on April 4, 2023, this Court asked counsel for both patties to:

                 pllease speak to )'our witnesses. Defense counsel speak to your client and anybody
                 else you need to and remind them to please refrain . . . from making statements that
                 are Iikely to incite violence or civil unrest. Please refrain from making comments or
                 engaging in conduct that has the potential to incite violence, create cir.il unrest, or
                 ieopardize the safety or well-being of anv individual. AIso, please do not engage in
                 words or conduct rvhich jeopardizes the rule of law, paruculady as it applies to these
                 proceedrngs in tlus courtroom.

         Transcript oJ'ArraignnenL   /lpil4, 202), at pages l2-13.


                 Coutt: i\[r. Trump, . . [) lru have the right to bc prcsent at everv.- stage o[ the
                 proceedings ... and that is obviously a ver\', very important right because it allows
                 vou to assist your attorrteys in their defense of you. It allorvs them to consult rvith
                 vou in [thet] defense of you. I think it is dcFrnitelv advantageous to have the jurors,
                 if there is a jurv, to see vou present. So, for all those reasons, I'm sure you can
                 appreciate the dghr to be present at your trial and your proceedings is important. I'm
                 requrred by law to inform you that thete ate rvays that you can waive yout dght to be
                 prescnt at these proceedings. Specifically, I would like to refer to rwo specific areas'
                 You can waive 'vour dght to be present if vou voluntarily absent yourself from the
                 procccdings. So, if it is determtned that at some point down the road you are not
                 present at some stage because you chose not to be ptesent, I do have the authoriq'
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                 .. . to find you vcluntarily waived your dght to be present and continue the
                 proceedings in your absence. Do you understand that?

                 Defendant Mr. Trump: Yes.

                 Court: A second rvay you can lose your right, or waive your right is to become
                 dtsruptive . . . if you become drsruptive to such a degree that it affects my ability to
                 pteside over this case ... I do have the authority to remove you from the courtroom
                 and condnue in yout absence, do you undetstand that?

                 Defendant Mr. Trump: I do.

         Tranwipt oJ'Anatgnneftl, Api/-1, 202) at l>aget 27-29.



                 Court: I have to apply the law as I see it and in that regard I'm bending over
                 backwards and straining to make sure that [Mr. Trumpl is given every opportunity
                 possible to advance his candidacy and to be able to speak in furtherance of his
                 candidacy ... with that comes responsibiJity ... that his words especialll,, when used
                 in the form of rhetoric can have consequences, thetefote, I am not going to do
                 anything with rcspect to this protectivc ordet or anyrvherc else to infringc on your
                 client's First Amendrrent dghts, nor am I going to do anything to hmit his abihtl'to
                 offer his r,,iews on the case to speak on his experiences with the case. He is certainly
                 free to do that. He's also free to speak on the vast majoriq, of the evidence because
                 the vast majoriry came from the defense and the protective order does not apply to
                 evidence that was proriuced to the People by the defense . . . So [thel protective order
                 applies to only that evidence which the People themselves have obtatned, generated,
                 gatnered . . .I think that that's pretty narrow and I'm trying to do everything I can to
                 be as narrow and focused here as I can possibl,v be. . . . I think if I rvere to sign a
                 protective order at least that paragraph as written, there is nothing there that would
                 prevent your client from being able to not only speak about the case and speak out
                 in his defense but to speak powerfully and persuasiveiv r.vithout the need to start
                 attackrng indrviduals, disclosing names, addresses, cell phone numbets, identiw, dates
                 of birth, or anvthing along those lines. f'hat's just not necessary to advance his
                 candrdacy.


                 Mt. Blanche: We agree with that.

         Tranrript o.f Mry 1, 202), heanrryon Protectiye Order at pages 37J8 ()e.lindant's dppedranc¤ wat waiued.)



                 Court: Now Mr. Trump, there [are] a couple of reasons why rve're having this
                 heanng todav. Primarily we want to go ovef the protectrve order. ... [o"] NIay 8'h, I
                 was given a copy of the pfotective order that incorporated -y ruiings and
                 incorporated the agreements that the partres had come to. That is thc protective
                 order I signed. Now, NIr. T'rump, do you have a copy of that ptotective order?
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              The Defendant: Yes, I do.

              Coutt: And Mt. Blanche, have you had an opporruniw to review the protective order
              with your client?

              Mt. Blanche: Yes, your Honor.

              Court: And have you teviewed each of the 9 So Ordercd paragraphs that are
              contained in that protecive otder?

              Mr. Blanche: I have, your Honor, and I've discussed it at length as well.

              Court: Were there any issues that your client comes lnto today's hearing not
              understanding, or any outstandrng issues that he would like to tesol.re at this time?

              Mr. Blanche: Nothing to tesolve your Honot. Certainly, our objection that we
              noted in our papers ... [Mr. Trump] is concerned that his First Amendment rights
              are being violated by this protective order. I have explained to him that that is not
              Your Honor's intention, and that you have made that clear previouslv that that is not
              your intennon, and that this is not a gag ordet, and that he is free to speak about the
              case and to defend himself subject to the limitations in the protective order.


              Court: Yes, that is true, it's certainly not a gag order and its certainlv not my intention
              to in any way impede Mr. Trump's ability to campaign for the presidency of the
              United States. He's certainly free to deny the charges. He's free to defend hrmself
              against the charges. He's free to campaign. He's ftee to do just about anything that
              does not violate the speclfic terms of this protecuve order . .  .




              Mt. Blanche: I agree with you your Honor, I do not believe it's necessary to go line
              by line ...

              Court: Now, did.,,ou also explain to vour client that this otder constitutes a mandate
              of the court?

              Mr. Blanche; Yes

              Court: And did vou explain to yout client what that means?

              Mr. Blanche: \'es, he understands that he has to comply with thc: order and if he
              doesn't do so, he's l,rolattng Your Honor's couft order.

              Court And ... a violation of a court mandate could result in sanctions. There are a
              wide range of sanctions. Thev could include up to a finding of contempt[.] ...You
              can explain that to your client.
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                 Mr. Blanche: Understood, your Honor.

         Traucript of bearingon Ma1 23, 2024, at Pages 3-6 (I\4r. trilnp dPpedred uirtualfi).




                 THEREFORE, it is hereby


                 ORDERED, that the People's motion for a protective order testticung disclosure of the
         business or residential address of any prospective ot sworn juror other than to counsel of tecord for

         either parry pursuant to the provisions of CPL $270.15(1-a) is GRANTED; and it is further



                 ORDERED, that thc People's motion to prohibit disclosure of juror names other than to
         paties and to counsel is GRANTED as modified at the request of Defendant, to expand the
         universe of those permitted access to the names to include the staff and consultants of the respective

         parties; and it is futthcr



                 ORDERED, that the People and Counsel for the Defendant, shall joindv submrt to this
         Court, no later than Friday, March 15,2024, proposed neutral explanations and limrung instructions
         the Court may give to the jury to minimize any potential prejudice to eithet party. If the parties are

         unable to agree on the language of the proposals, then each party is to submrt a separate proposal to

         the Court no latet than Monday, March 18,2024; and it is further



                 ORDERED, that Christoper DiSanto, Chief Clerk of the Supreme Court, New York
         County - Crimrnal Term, shall implement the necessary mcasures and take all necessary steps to
         ensure compliance with this Decision and Order; and it is furthcr
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                 ORDERED, that a decision on the People's motion for this Court to explicidy ptovide
         nodce to Defendant that any harassing or disruptive conduct that threatens the safety or integrity of

         the jury may result in forfetture of Defendant's access to jutor names is reserved pending this Coutt's

         decision on the People's moti()n tor an order restrjcting extrajudicial statements. In the interim,
         Defendant and all parties lo this action, including counse/, are reminded of this Court's pdor instructions
         from April 4,2023; NIarch 4,2023; and May 23,2023.


                 The f<rregoirrg constitutes the Decision and Order of the Court.




         Dated: l"farch 7 ,2024
                Neu, Yotk, New Yotk

                                                                        of the Court Claims
                                                                   AcungJusuce of the Supreme Court

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